            Case 5:14-cv-00760-HLH Document 13 Filed 05/18/15 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

CHRISTINA DELAVEGA,                             )
                                                )
       Plaintiff,                               )
                                                )
       v.                                       )       Case No. 5:14-CV-00760
                                                )
FOCUS RECEIVABLES MANAGEMENT,                   )
LLC,                                            )
                                                )
       Defendant.                               )

                                 STIPULATION TO DISMISS

       Plaintiff, CHRISTINA DELEVEGA, and Defendant, FOCUS RECEIVABLES

MANAGEMENT, LLC, through their respective counsel below, and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii), stipulate to dismiss this case, with prejudice, both sides to bear

their own fees and costs.


DATED: May 18, 2015


RESPECTFULLY SUBMITTED,                              RESPECTFULLY SUBMITTED,

By:_/s/ Michael S. Agruss      .                     By:_/s/ Garett Willig            G
       Michael S. Agruss                                    Garett Willig
       Agruss Law Firm, LLC                                 909 Fannin Street, Suite 3300
       4619 N Ravenswood Ave.                               Houston, Texas 77020
       Suite 303A                                           Telephone: (713)-353-2000
       Chicago, IL 60640                                    Facsimile: (713)-785-7780
       Tel: 312-224-4695                                    Email:
       Fax: 312-253-4451                                    garrett.willig@WilsonElser.com
       michael@agrusslawfirm.com                            Attorney for Defendant
       Attorney for Plaintiff
         Case 5:14-cv-00760-HLH Document 13 Filed 05/18/15 Page 2 of 2




                               CERTIFICATE OF SERVICE

     On May 18, 2015, the documents above were delivered electronically through the Court’s
ECF/PACER electronic filing system, which will provide electronic notice to all counsel of record.

                                     By:/s/ Michael S. Agruss_______
                                           Michael S. Agruss
